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                                                                                9/2/2022 11:29 AM
                                                                                Esther Ruiz
                                                                                DeWitt County
                                                                                District Clerk
                                    CAUSE NO. 22-07-25,779                      ap


  CATT WOLF AND STEVEN WOLF,                      §                IN THE DISTRICT COURT OF
  EACH INDIVIDUALLY AND AS CO-                    §
  EXECUTORS OF THE ESTATE OF                      §
  LARRY ADOLPH WOLF, DECEASED                     §
                                                  §
             Plaintiffs                           §
                                                  §
  VS.                                             §                   DEWITT COUNTY, TEXAS
                                                  §
  CLAUDE E. ARMSTRONG, CASCADE                    §
  ELECTRIC, INC., AND THE PERSON OR               §
  ENTITY D/B/A CASCADE ELECTRIC,                  §
  INC.                                            §
                                                  §
             Defendants                           §
                                                  §                   267TH JUDICIAL DISTRICT


                           DEFENDANTS’ ORIGINAL ANSWER AND
                          OBJECTION TO PLAINTIFFS’ 193.7 NOTICE

TO THE HONORABLE JUDGE OF SAID COURT:

        COME NOW, CLAUDE E. ARMSTRONG and CASCADE ELECTRIC, INC.,

Defendants in the above entitled and numbered cause, and files this, their Original Answer to

Plaintiff’s First Amended Original Petition, and respectfully shows the Court as follows:

                                    I. ORIGINAL ANSWER

                                        GENERAL DENIAL

        1.        Subject to such stipulations and/or admissions that may hereinafter be made,

Defendants enter this general denial pursuant to Rule 92 of the Texas Rules of Civil Procedure,

thereby denying every allegation against Defendants contained in Plaintiff’s live petition and

demanding strict proof thereof as required by the laws of the State of Texas.
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                                     AFFIRMATIVE DEFENSES

       2.      Further, and/or in the alternative, Defendants invoke the statutory limitation on the

recovery of medical or health care expenses under the provisions of TEX. CIV. PRAC. & REM. CODE

§ 41.0105.

       3.      Further, and/or in the alternative, Defendants affirmatively plead the defenses of

contribution and proportionate responsibility pursuant to Chapters 32 and 33 of the Texas Civil

Practice & Remedies Code and asserts that the alleged damage in question was caused in whole or

in part by the acts, omissions, comparative negligence, and/or contributory negligence of Plaintiff,

other parties, and/or non-parties over which Defendants exercised no control. Accordingly,

Defendants respectfully request the Court and/or jury compare the relative percentages of fault of

all parties to this lawsuit and any negligent, culpable and/or strictly liable third party and/or

responsible third party, whether a party to this suit or otherwise, pursuant to the doctrine of

proportionate responsibility. See TEX. CIV. PRAC. & REM. CODE §§ 33.001-33.017.

       4.      Further, and/or in the alternative, Plaintiffs’ alleged injuries, if any, were caused by

prior and/or subsequent conditions or occurrences for which Defendant was not responsible.

       5.      Further, and/or in the alternative, to the extent Plaintiff is asserting recovery of lost

earnings, loss earning capacity, loss contribution of pecuniary value or loss of inheritance, the

limitations of TEX. CIV. PRAC. & REM. CODE § 18.091 apply.

                            II. OBJECTION TO RULE 193.7 NOTICE

       6.      Defendants object to Plaintiffs’ general Rule 193.7 Notice on the grounds that it is

insufficient and in contradiction to the Texas Rules of Civil Procedure. Upon the filing of

Plaintiffs’ Notice, Defendants are without knowledge of what specific documents Plaintiffs intend

to use at pre-trial and/or at trial and is thus handicapped in its defense and its ability to legally

object. In addition, Plaintiffs’ general notice does not allow Defendants an opportunity to

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determine a good faith factual and legal basis for its objection as required by the rules. To require

Defendants to anticipate and/or object to every single document produced by any party would

cause an undue hardship on Defendants and would circumvent the intent and safeguards of Rule

193.7. In the alternative, if the Court finds that the general notice given by Plaintiffs under Rule

193.7 is sufficient, then Defendants hereby provide written notice of its objection to any and all

documents produced by the parties, as well as to authentication, and reserve their right to make

further objections at the time it becomes aware of the specific identity of any particular documents

Plaintiffs intend to use at any proceedings. Defendants further object to the extent that Plaintiffs’

Notice seeks a blanket concession that all such documents are admissible in evidence and reserve

the right to object to any or all documents on grounds other than authenticity. Defendants further

object to the extent that Plaintiffs’ Notice seeks to authenticate for use against Defendants any

documents produced by parties other than Defendants.

                                    III. RIGHT TO AMEND

       7.      Defendants reserves the right to amend their answer and defenses herein as matters

are more fully developed.

                                           IV. PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendants CLAUDE E. ARMSTRONG

and CASCADE ELECTRIC, INC. respectfully pray that the relief sought in Plaintiffs’ First

Amended Original Petition be DENIED, that Plaintiffs take nothing, and that Defendants

CLAUDE E. ARMSTRONG and CASCADE ELECTRIC, INC. go hence without delay with their

costs and all such other and further relief to which they may be justly entitled to receive.




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                                     Respectfully submitted,

                                     EGGLESTON & BRISCOE, LLP
                                     333 Clay Street, Suite 4800
                                     Houston, Texas 77002
                                     (713) 659-5100 – Telephone
                                     (713) 951-9920 – Facsimile

                                     By:_/s/   David K. Loveless____
                                               David K. Loveless
                                               State Bar No. 24060192
                                               dkl@egglestonbriscoe.com
                                               w/E-Service Copy: lmb@egglestonbriscoe.com

                                               ATTORNEYS FOR CASCADE ELECTRIC, INC.
                                               and CLAUDE ARMSTRONG




                                CERTIFICATE OF SERVICE
        I certify that a true and correct copy of the foregoing was forwarded via facsimile and/or
electronic notification, or any other method approved by the Texas Rules of Civil Procedure on
this the 2nd day of September 2022, to:

       Will Sciba III
       Cole, Cole, Easley & Sciba, P.C.
       302 W. Forrest
       Victoria, Texas 77901
       wsciba@colefirmservice.com

                                                     /s/   David K. Loveless
                                                           David K. Loveless




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                         Automated Certificate of eService
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document via email generated by the efiling system on the date and to the persons listed below.
The rules governing certificates of service have not changed. Filers must still provide a certificate
of service that complies with all applicable rules.

Lori Buehring on behalf of David Loveless
Bar No. 24060192
lmb@egglestonbriscoe.com
Envelope ID: 67923960
Status as of 9/2/2022 1:41 PM CST
Associated Case Party: Catt Wolf, Individually and as Co-Executor of the Estate of Larry Adolph Wolf, Deceased
Name              BarNumber   Email                        TimestampSubmitted      Status
Will Sciba, III               wsciba@colefirmservice.com   9/2/2022 11:29:08 AM    SENT
              Case 6:22-cv-00035 Document 1-3 Filed on 09/07/22 in TXSD Page 24 of 25



                         Automated Certificate of eService
This automated certificate of service was created by the efiling system. The filer served this
document via email generated by the efiling system on the date and to the persons listed below.
The rules governing certificates of service have not changed. Filers must still provide a certificate
of service that complies with all applicable rules.

Lori Buehring on behalf of David Loveless
Bar No. 24060192
lmb@egglestonbriscoe.com
Envelope ID: 67923960
Status as of 9/2/2022 1:41 PM CST
Associated Case Party: Steven Wolf, Individually and as Co-Executor of the Estate of Larry Adolph Wolf, Deceased
Name              BarNumber   Email                        TimestampSubmitted      Status
Will Sciba, III               wsciba@colefirmservice.com   9/2/2022 11:29:08 AM    SENT
            Case 6:22-cv-00035 Document 1-3 Filed on 09/07/22 in TXSD Page 25 of 25



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Bar No. 24060192
lmb@egglestonbriscoe.com
Envelope ID: 67923960
Status as of 9/2/2022 1:41 PM CST
Case Contacts
Name                BarNumber   Email                      TimestampSubmitted     Status
Wanda Lester                    wanda@cceslaw.com          9/2/2022 11:29:08 AM   SENT
David KLoveless                 dkl@egglestonbriscoe.com   9/2/2022 11:29:08 AM   SENT
Lori Buehring                   lmb@egglestonbriscoe.com   9/2/2022 11:29:08 AM   SENT
Cristina Carrigan               cc@egglestonbriscoe.com    9/2/2022 11:29:08 AM   SENT
Nancy Gresham                   nsg@egglestonbriscoe.com   9/2/2022 11:29:08 AM   SENT
Kaylee Gum                      KRG@egglestonbriscoe.com   9/2/2022 11:29:08 AM   SENT
